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                                 IN THE DISTRICT COURT OF THE UNITED STATES

                                    FOR THE MIDDLE DISTRICT OF ALABAMA

                                               EASTERN DIVISION
                                                                                   L123 ‘.1Un    A
                                           Case No. 3:15-cr-240-MHT



STEPHEN HOWARD,
     PETITIONER,
         PRO-SE.
v.

UNITED STATES OF AMERICA,
            RESPONDENT.
                             /


                                    REPLY TO GOVERNMENTT'S RESPONSES

         On June 3, 2020 this Court issued an order (112-1) directing Stephen Howard (HOWARD) to reply the

government's responses (109, 111) by June 17, 2020. Howard proceeds as follow.


                                             EXCUSABLE ERROR


         As a preliminary matter HOWARD cites Haines v. kerner, 'for the proposition that PRO-SE litigants

pleadings are to be construed liberally and held to less stringent standards than formal pleadings drafted

by lawyers. If the COURT can reasonably read pleadings to stated valid claims on which HOWARD could
prevail, it should do so despite failure to cite proper legal authorities, confusion of legal theories, poor

syntax and sentence construction, or HOWARD's unfamiliarity with pleading requirements. See also
Erickson v. Pardus, 2


                                                     TIIVIELINESS


         Because HOWARD have not received the government's responses, he requested to the COURT -on June 11,

2020(before the June 17 deadline)- a copy of the government's resistance which the Clerk sent to and HOWARD



1404 U.S. 519(1972)
2551 U.S. 89, 94 (2007).



                                                      1
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 received -from prison authorities- on June 15, 2020. HOWARD also had requested 14 days to file his reply. Assuming

the Court granted such request in the interest of lady justice and due process, the new deadline would be June 29,

2020.


                                   COLEMAN-LOWS MANAGEMENT OF THE PANDEMIC



         Recent update of a model -used by the White House- projects 200,000 Covid-19 deaths by October 2020

versus its prior projection of 170,000 deaths by November. A great contributor to that number comes from places

where social distancing is almost impossible. Indeed, the statistics now shows that in Europe more than 50% of

Covid-19 deaths came from nursing homes while in the U.S. the number is 60%. The CDC realized that threat and

identified nursing homes and "Iong-term care facilities" (such prisons) as groups at high risk.3

         The BOP took steps to "prevent" the spread of the virus within their facilities and issued a "phase plan" 4

that address "social distancing and treatment of symptomatic inmates". On April 1, 2020 BOP implemented phase

Five which current governs operations and aim to "stop any spread of the disease" (bold added) by "limit[ing] the

movement of inmates [ ] among its facilities" and that ""all official staff travel has been cancelled". It cancelled also

social and legal visits, volunteer visits and contractor access and indicates that "newly admitted inmate is screened

for COVID-19 exposure risk factors" (bold added) also that "asymptomatic inmates with risk of exposure are placed

in quarantine for 14 days". In addition, Staff that registers high temperature "are bared from the facility on that

basis alone" and Correctional Officers (COs) are "mandated" to use mask at all times.

         These measures are incredibly critical because an outbreak in an overcrowded facility, such Coleman-Low,

not only would impact the inmate population and staff 5 but also the ill-equipped communities surrounding the



3
  See CDC, Groups at Higher Risk for Severe Illness, https://www.cdc.gov/coronavirus/2019-ncov/need-extra-
precautions/groups-at-higher-risk.html
4
  https://www.bop.gov/resources/pdfs/pan flu module 1.pdf
5
  Indeed, even Unions have complained and requested release of inmates."We have very very limited amounts of testing kits"
said Brandy Moore, Secretary Treasurer of National Union that represents correctional officers in federal prisons also adding
that "our number are not going to be adequate because we're not truly testing them." At FCC Terre Haute, Steve Markle,
another leader of National Union who works at that prison said "we have between 2,500 and 3,000 inmates and we were given
four tests." In a filling in the E.D.N.Y. on Monday April 13, 2020 the BOP admitted the "shortage of tests". Joe Rojas, a regional
union official, complained, "the Justice Department need to be proactive instead of reactive." He said there have already been
                                                                 2
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 prison. 6 Thus, by taking these steps, the BOP is aware and acknowledge that the only way the virus come into

 prisons is through outsiders. Unfortunately, Coleman Low is not in preventing or mitigation mode but promoting the

spread of the virus.

         A. On May 12, 2020 at 8:10 pm COs M. Battisti and B. Daughton were in A1 unit without using a mask. On

May 13, 2020 at 11:50 am CO F. Cruz was in the dinning hall without mask even when inmates were picking up their

food. The same day but at 12:40pm Unit Manager Ward was in A1 without mask. On May 14, 2020 at 11:48 am CO

in charge of food service Diaz was without mask even when the warden was close to him. Same day but at lOpm CO

Stewart was coming into A1 unit without mask. On May 15, 2020 at 6:30 am CO M. Mickle in A1 was not using a

mask. Same day and same time while inmates went to the kitchen, 5 COs were in front of the Food Service without

mask, one of them was CO C. Holt. On May 17, 2020 at 5:45pm CO D. Jones, from food service, did not use a mask.

On May 19, 2020 at 7:20 am COs M. Mickle (in A1), J. Gonzales (Outside Food Service), F.Cruz (in the food service)

were not using a mask. On May 20, 2020 at 7:00 am CO in charge of the Compound operation J. Gonzales without

mask. On May 21, 2020 at 7:00 am COs J. Gonzales, C. Holt and Lieutenant Warren were not using a mask. At

12:17pm, CO Cruz likewise without mask. At 2pm, A1 counselor E. Hadley not using a mask. On June 3, 2020 at

4:30pm, Unit manager Ward not used a mask. On June 6, 2020 CO Eusebio, a similar offender. On June 16, 2020 at

UNICOR COs J. Hernandez, A. Perez and S. Clark were not using masks while the entire factory was full with inmates.

At 6:10pm COs R. Peavy and Stewart were together outside A1 unit without mask. On June 18, 2020 at 7:15am COs

D.Jones, J. Gonzales and 6 more COs not using their masks. At 10:35 am COs J. Clancy (from facility) and Hawkins



scares on BOP facilities in Seattle and Miami. Aaron McGlothing, head of the local union at FCI Mendota, California, said "you've
got to understand we're in a prison there's nowhere to go," he stressed "if somebody comes down sick, what are you going to
do? Everybody's going to get sick." On Friday April 13, the Marshall Project reported Dr. Sylvie Cohen, BOP's chief of
occupational and employee health, ordered Oakdale staff back to work the day after they took inmate Patrick Jones (the first
BOP's death for COVID-19) to the Hospital. The COs were issued no protective equipment other than latex gloves. Dr. Cohen
reportedly directed that 'officer[s] should work unless they showed symptoms.' This advice flew in the face of the CDC
guidance, which called for people who have had close contact with a confirmed case of COVID-19 to isolate themselves at home
for 14 days. Ronald Morris -President of a local Union at FCI Oakdale whose Warden was removed- has recently filed an
imminent danger report alleging negligence and unsafe conditions.

6 Reducing prisons was so compelling that in an unprecedented move, police chiefs and dozens of current and former top
prosecutors (including OHIO former Attorney General James Petro) urged the 6 Circuit Court of Appeals for the release of
inmates not just "to protect those in prison, [and] those who work there" but also "those who live in the surrounding
community".
                                                           3
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(from education) similarly violators. Also, same day, COs from UNICOR S. Clark and J. Hernandez not using masks. On

June 20, 2020 CO R. Peavy, not mask as well.' All these staff member were and are in constant contact with inmate

 population and know that the use of mask —according to the CDC and the BOP's own guidance in its so-called

"phase" plan- is an effective measure to prevent the spread of the virus. Their actions constitute a deliberate

indifference. Compare for instance Swain v. Junior, 958 F.3d 1081 at 1090 (11th. Cir. 2020)(per curiam), where the

Court indicated that because the prison "mandate[d] that staff [] wear protective masks at all times", the prison's

actions likely did not amount to deliberate indifference.8 Coleman low has disregarded time and time again a

known risk of not using a "mandatory" mask and turning and blind eye to its own protocols, misleading also to the

Courts as to its measures.


          B. Coleman-Low's plan that dictates that "newly admitted inmate is screened for COVID-19 exposure risk

factors" and that "asymptomatic inmates with risk of exposure are placed in quarantine for 14 days" show again

their acknowledgment that the prison is a "ticking time bomb" due that if one gets the virus, it would spread like a

wildfire. However, COs D. Jones, F. Cruz and A -Unit Manager Ward have clearly an "exposure risk factor" for COVID-

19 because according to the CDC, people with more than 40 BM I (Body Mass Index) are at high risk to contract this

highly contagious and deadly virus.9 Despite this, D.Jones, F. Cruz and Ward keep working day-to-day even, as shown

above, without mask.1°

         C. Coleman-Low is an open-dorm prison (no cells) with 3 buildings and 6 units housing an average of 2000


inmates. Sinks, showers, bathroom, tv-room, dorms, computer/phone-area, are totally open. BOP says that it relied

on guidelines from the CDC in crafting and developing its plan in response to the spread of the virus. Those




7 Although HOWARD is signing this document under penalty of perjury, these facts could also be corroborated not only by
hundreds —if not thousands- of inmates but also by security-camera surveillance.
8 See also See Phillips v. Roane County, 534 F.3d at 541 (6th Cir. 2008)(The Court found evidence of deliberate indifference

when officials disregarded certain prison protocols )
  https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/groups-at-higher-risk.html
lo
   If BOP/Coleman-low say that staff showing high temperature "are barred from the facility" then it should be noted that that
measure to prevent the spread of the virus in its facilities has been highly criticized not jus by Courts but for experts such as Dr.
Homer Venters (an epidemiologist specializing in disease in prisons, that testified in a suit against MDC Brooklyn) who was
alarmed about the use of temperature as a measurement to diagnose COVID-19. If someone shows symptoms, it is because
he/she has the virus many days before and spreading it
                                                                  4
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 guidelines provide that social distancing is "a cornerstone of reducing transmission of respiratory disease."' Yet, the

 BOP multiphase plan does not include a single phase that allow for meaningful social distancing. Coleman-low has

 not made the effort to even re-arrange the bunks to facilitate social distancing. Compare for instance Swain, supra

 where the 11th Circuit found that     the measures took by a jail such as implementing social distancing efforts by

changing the position of bunks to maximize social distancing preclude a finding of deliberate indifference. HOWARD

is housed in a 3-men cubicle.

         D. Coleman-low's procedure for a symptomatic inmate is to put him in "administrative medical-transfer

and then move him (for segregation) to Coleman-Medium (a few yards from the Low) with other symptomatic

prisoners and once he "recovered" then come back to Coleman-low. If the inmate test positive and sent to the

hospital or die, then that COVID-19 death count for the medium, not for Coleman-low. This scheme was made to

cook the numbers of new infections in the Low facility and make the medium with more ones12. Also, given the

transit status of these inmates, keeping tracking is hard for the general public. To know the real number of

coronavirus cases in Coleman-low, a general testing should be accomplish keeping in mind that the result would be

astonish if we consider Florida Governor's June 16 statement regarding the infection rate in a Florida county jail

that count 63% Covid-19 positives.13 Coleman Low's numbers then would reflect more than 1100 cases showing that

its "protective measures" is not to prevent or mitigate, but to promote widespread transmission of the virus. Hence,

Coleman-low failures left inmates, staff and the surrounding communities in a perilous situation by facing a "death

trap" especially when recent updates show the increase of FLORIDA's COVID-19 new cases making Florida the 3'd

state with more cases where even sparked the reaction of New York, New Jersey and Connecticut to issued a

quarantine order for travelers coming from Florida.

Indeed, on June 17, 2020 Florida registered 3,200; on June 18, 2020 3,800 and on June 19 more than 4,000 new

Covid-19 cases. Considering this data, analysts project that Florida would be the next "hot spot" or it is already




11 https://www.cdc.gov/coronavirus/2019-ncov/downloads/guidance-correctional-detention.pdf
12
   Because of public safety, Inmates in Low facilities have more chances to get compassionate releases than Medium's inmates.
13
   In addition, in an Ohio state prison, a massive —thousand-testing was made, so, if testing for asymptomatic inmates has been
made in States prisons which have well less budget than its Federal counterpart, then why Coleman-low is not doing it?
                                                                 5
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   14
one .

         E. Coleman-low proudly show that it has isolated the buildings-units in order to avoid cross-

contamination. The effort however is inconsistent and fruitless because inmates (from different units)

work in the food service, Iaundry and commissary usually without mask, an issue that could be

corroborated by security cameras. In fact, Coleman-low encourage inmates gathering from different units

in the medical department. See Exhibit A.



                    COLEMAN-LOW'S DELIBERATE INDIFFERENCE AND MISLEADING TO THE COURT


         On June 18, 2020 Florida had 3,207 new Covid-19 cases; On June 19 it had 3,800 new ones, reporting more

new cases than the whole Europe Union in a single day15. On June 20, Florida showed 4,000 new cases and on

June22, it already passed more than 100,000 total Covid-19 cases. Florida also reported 3,173 COVID19 deaths and

the curve is ascending. In this context, and learning from the experience at FCI Elkton and FCI Oakdalem, Coleman-

Low is in the path to become the next petri dish or warzone in Florida with catastrophic consequences to the closest

communities. Coleman-low's lack of enforcement actions with its own staff show not only inconsistent efforts to

reduce the risk of spreading in-and-out of prison and taking the risk of COVID-19 not seriously but also that

Coleman-low is misleading to the Court about its "measures" 17 . The subjective mental-state component of the 8

Eight Amendment in this case is more than clear blameworthy of deliberate indifference. See generally Kurapatil8

(finding that district court had subject matter jurisdiction over the claims raised in complaint because government


14
   In an interview in CNN on 6.24.2020 at 8am Rebecca Jones , a former Florida Health Employee who was in charge of tracking
Covid-19, stated that Florida does not register COVID-19 deaths if the person was a Florida non-resident. She argued that if the
person got the virus in Florida and died in Florida then it should be count. She also indicated that Florida is misleading about
new cases and deaths.
15 CNN on 6.19.2020 at 5:30pm.
16
   FCI Elkton (a low-security prison in Lisbon, Ohio, where coronavirus erupted early. The prison granted early release to only six
of its 2,300 inmates through May 8. Nine inmates there have died of COVID-19) and FCI Oakdale (in Louisiana, whose Warden
was removed) are two of the hard-hit BOP's facilities which the BOP was highly criticized even by the Attorney General.
17
   In another example of BOP and its facilities misleading to the public, on May 3 2020, BOP's website conspicuously showed
that MDC Brooklyn and MCC New York have not reported inmates with COVID-19. In a court filing that same day, however, the
Wardens told the U.S. District Judge that they had 11 confirmed cases.
18
   v. U.S. Bureau of Citizenship & Immigration Servs., 775 F.3d 1255, 1262(11th Cir. 2014).
                                                                6
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agency failed to follow its own regulations); See also Richmond19( finding that because the doctor took no action to

ensure the treatment plan was being followed, the Court held that a jury could find the doctor was deliberately

indifferent to defendant's medical needs); Phillips2°(The Court found evidence of deliberate indifference when

officials disregarded certain prison protocols ).

Coleman-low could show to the Court about its low Covid-19 cases in its facility, however, the widespread of the

virus in Florida raise the valid question of "when" rather than "if' the virus will get into the prison given not only

that Coleman-low is not an isolated island or planet but also its deliberate indifference. Coleman-low's "nothing to

see here" is a hopeless defense.

As noted in Fraihat 21 ,"the constitution protect those in detention against a condition of confinement that is sure or

very likely to cause serious illness and needless suffering the next week or month or year" (citing Helling, 509 U.S. at

33 ("it would be odd to deny an injunction to inmates who plainly proved an unsafe, life-threatening condition in

their prison on the ground that nothing yet had happened to them").

As Orlando Congresswoman Val Demings a former Orlando police chief told the Florida Phoenix, all inmates deserve

to be treated as well as Paul Manafort and Michael Cohen but they aren't. Both made 40% of their sentence.


                                          HOWARD'S PARTICULAR CONDITION


        Public safety of course is a natural concern for the release of inmates. In 2018 Congress passed the First Step

Act (FSA) which granted the DOJ millions of dollars to, among other, assess inmates' recidivism level. The DOJ and

BOP then built a sophisticated and reliable tool called PATTERN which —after a period of feedback from Judges,

Public defenders, Prosecutors, Psychologist, and so on- determined inmates' risk level for committing future crimes.

This tool has 4 levels: minimum, low, medium and high. HOWARD has been assigned minimum recidivism risk. This

assessment contrast with the prosecutors position that HOWARD "still poses a significant danger to the safety of

the community"(109, page 17).



19
   v. Huq, 885 F.3d 928(6th Cir. 2018).
20
   v. Roane County, 534 F.3d at 541 (6th Cir. 2008)
21 Fraihat v. U.S. Immigration and Customs 2020 U.S. Dist. Lexis 72015, 2020 WL 1932570,*2 (C.D. Cal. Apr. 2020)
                                                               7
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HOWARD was sentenced to 102 months and accounting for good-time credit(15%), the effective time sentence is

86.7 months which HOWARD has served 60 months so, he has 26.7 months time left. In the alternative, HOWARD is

legible for the First Step Act which indicate that elderly inmates has to serve 2/3 of their time, this means, HOWARD

has to serve a total of 68 months so he has 8 months time left.22 Although the prosecutor is aware of this, he

represented to the Court that HOWARD intent "to shave 42 months off his imposed sentence".(109, page 18)


HOWARD's undisputed medical issues —which are risk factors for COVID-19- give little doubt that the he will suffer

irreparable harm of the increased likelihood of severe illness or death if he is not granted early release or reduce his

sentence. The equities and public interest support such finding. In fact, the government conceded that "Coleman-

low is not taking additional, special steps specific to [protect] HOWARD"(109, page 3 at footnote). See U.S v. Brown

2020 U.S. Dist. Lexis 87133 (S.D. lowa, 2020)("These [underlying medical conditions] can have devastating and life-

threatening consequences for a person infected with [COVID-19]" ) at 2020 U.S. Dist. Lexis 7. "Already 'tinderboxes

for infectious disease', prisons now are even more dangerous than we typically accepr. Id. at U.S. Dist. Lexis 5 citing

U.S. v. Rodriguez, No. 2:03-cr-00271-AB-1, 2020 WL 1627331, at *1 (E.D. Pa. Apr. 1, 2020). "The risk of death are

even higher for someone housed in a closed population such as prison and especially high for [HOWARD] given his

medical history and presentation. Not every inmate is at serious risk.[HOWARD] is an exception" Id. lexis 7.




                                                      CONCLUSION




        HOWARD respectfully requests to reduce his sentence to time served and begin his supervised release or in

the alternative to reduce his sentence and be sent to home confinement.




22 The House of Representatives has passed an ACT, yet to be approved by CONGRESS that the 2/3 has to consider the good

time credit. This means, considering the good time, HOWARD sentence would be 86.7 months and the 2/3 of that is 57.8
months. HOWARD already did 60 months.
                                                              8
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                                               CERTIFICATE OF SERVICE


        I HEREBY certify that on June 25, 2020 I sent a true and correct copy of the foregoing with the CLERK of the

Middle District of Alabama, which will send a notice of filling to all parties and serve a copy upon the following via

electronic filing to:


                                 Louis V. Franklin, Sr.
                                 Assistant United States Attorney
                                 131 Clayton Strett
                                 Montgomery, Alabama 36104


                                                                                             t1(104AJAtgk-
                                                    DECLARATION
                                                                                        qS 1 q0a0


        I declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge and

memory.




                                         STEPHEN HOWARD
                                          Reg. 15668-002 A1 unit
                                         Federal Correctional Institution Coleman-low
                                         P.O. Box 1031
                                         Coleman, Florida 33521


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